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Based upon information contained in I.C. File LH-0319 and upon an investigation made by the Investigations Section of the Industrial Commission, the Full Commission makes the following:
                            FINDINGS OF FACT
1.  Decedent, Charles R. Paul, III, was an officer employed by the Raleigh Police Department at the time his death on 10 September 2002.
2.  Decedent's death occurred in the course and scope of his employment when he lost control of his motorcycle while chasing a speeding motorist.
3.  At the time of his death and for at least six months prior to that date, decedent was married to and residing with Tiffany Early Paul. Decedent is survived by one dependent child, Charli M. Paul, who resided with decedent and was totally dependant upon him for support on 10 September 2002.
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Based upon the foregoing findings of fact, the Full Commission concludes as follows:
                           CONCLUSIONS OF LAW
1.  Decedent was an eligible employee of the Raleigh Police Department at the time of his death on 10 September 2002.
2.  Decedent's death was the direct result of injuries incurred in the line of duty, as defined by N.C. Gen. Stat. § 143-166.2.
3.  Decedent is survived by his wife, Tiffany Early Paul, who is eligible for the award of death benefits under N.C. Gen. Stat. §143-166.1 et seq.
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Based upon the foregoing findings of fact and conclusions of law, the Full Commission enters the following:
                                  AWARD
1.  The sum of $25,000.00 is hereby awarded to Tiffany Early Paul as the qualified surviving spouse of Charles R. Paul, III, as follows:  the sum of $10,000.00 shall be paid immediately to Tiffany Early Paul. Thereafter, the sum of $5,000.00 shall be paid annually to Tiffany Early Paul as long as she remains unmarried until such time as the balance of all payments equal $25,000.00.  This sum shall be paid from funds appropriated by the State Treasurer for the purpose set forth in N.C. Gen. Stat. § 143-166.1 et seq.  If Tiffany Early Paul becomes ineligible for benefits before the Award is fully paid, the balance of the payments under this Award shall be made to other eligible person(s).
A copy of this Award shall be furnished the Office of the State Treasurer for the purpose of having compliance with this Award, and the Commission shall be advised of the date or dates of payments made.
No costs are assessed before the Commission.
This the ___ day of November, 2002.
                                  S/___________________ BERNADINE S. BALLANCE COMMISSIONER
CONCURRING:
  S/_____________ THOMAS J. BOLCH COMMISSIONER
  S/_______________ CHRISTOPHER SCOTT COMMISSIONER